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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

DINA SENGA KASWATUKA,                             §
                                                  §
        Plaintiff,                                §
                                                  §
v.                                                §     Civil Action No. 4:20-cv-00495-O-BP
                                                  §
DALLAS/FORT WORTH                                 §
INTERNATIONAL AIRPORT                             §
BOARD,                                            §
                                                  §
        Defendant.                                §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. No objections were filed, and the Magistrate Judge’s

Recommendation is ripe for review. The Court has reviewed the proposed Findings,

Conclusions, and Recommendation for plain error. Finding none, the Court believes that

the Findings and Conclusions of the Magistrate Judge are correct, and they are accepted as

the Findings and Conclusions of the Court.

        Accordingly, it is ORDERED that Defendant’s Motion to Dismiss (ECF No. 10) is

GRANTED, and that Defendant’s Motion to Transfer (ECF No. 9) is DENIED as moot.

Plaintiff’s claim against Defendant is DISMISSED WITH PREJUDICE.1




1
 The Court notes that on September 1, 2020, Plaintiff filed a document titled “Notice of Appeal” in which
she asserts she is appealing the Magistrate Judge’s Findings, Conclusions, and Recommendation to the
United States Court of Appeals for the Fifth Circuit. See ECF No. 19. An appeal to the Fifth Circuit does
not lie from the Findings, Conclusions, and Recommendation of a magistrate judge. Accordingly, the Court
directs the Clerk of Court to STRIKE pro se Plaintiff’s “Notice of Appeal,” ECF No. 19.
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   SO ORDERED on this 16th day of September, 2020.




                               _____________________________________
                               Reed O’Connor
                               UNITED STATES DISTRICT JUDGE




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